            Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 1 of 25



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT
________________________________________
                                         :
CHERYL GANZ,                             :  CASE NO. 3:19-cv-_______
      Plaintiff,                         :
                                         :
v.                                       :
                                         :
MERCEDES-BENZ USA, LLC; UAG              :
FAIRFIELD CM, LLC; and CAR UNI CT        :
FAIR, LLC,                               :  JULY 16, 2019
      Defendants.                        :
________________________________________ :

                                    PETITION FOR REMOVAL

       TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT

OF CONNECTICUT:

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, the Defendants, Mercedes-Benz USA,

LLC (“Mercedes”), UAG Fairfield CM, LLC (“UAG”), and Car Uni CT Fair, LLC (“Car Uni”)

(together, the “Defendants”), respectfully petition this Court as follows:

       1.       An action was commenced against Defendants in the Superior Court of the State of

Connecticut, Judicial District of Stamford, titled Ganz v. Mercedes-Benz USA, LLC, No. FST-

CV19-6042503-S (the “State Action”). A copy of the Summons and Complaint is attached hereto

as Exhibit A.

       2.       Service of the Summons and Complaint was first made upon Defendants, through

their respective agents, on June 17, 2019. This petition is being filed pursuant to 28 U.S.C. §

1446(b)(3), within thirty (30) days of receipt by Defendants of service; the time for filing this

petition has not expired.
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         3.       Defendants have not served an answer or responsive pleading to the Complaint.

There have been limited proceedings in the State Action. A copy of the docket sheet is attached

hereto as Exhibit B.

         4.       The Complaint alleges that the Plaintiff, Cheryl Ganz (“Plaintiff”) currently resides,

and has at all relevant times resided, in the State of Connecticut. (Complaint, ¶ 1.)

         5.       According to the Complaint, each of the Defendants are “foreign” companies.

(Complaint, ¶¶ 2-4.) As reflected in relevant records on file with the Connecticut Secretary of

State:

         a.       Mercedes is a Delaware limited liability company, whose principals/members are

                  residents of Sandy Springs, Georgia.

         b.       UAG is a Delaware limited liability company; and UAG’s sole member, UAG

                  Connecticut I, LLC, is a Delaware limited liability company. UAG Connecticut I,

                  LLC’s sole member, UAG Connecticut, LLC, is a Delaware limited liability

                  company. UAG Connecticut, LLC’s sole member, Penske Automotive Group, Inc.,

                  is a Delaware corporation with a principal place of business in Bloomfield Hills,

                  Michigan.

         c.       Car Uni is a Delaware limited liability company, whose principals/members are

                  residents of McLean, Virginia.

         6.       The amount in controversy exceeds the sum or value of $15,000, exclusive of

interest and costs.

         7.       Based upon the foregoing, the State Action is one that may be removed to this Court

pursuant to 28 U.S.C. § 1441, because this Court has jurisdiction pursuant to 28 U.S.C. § 1332

(diversity).



                                                    2
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       8.       Venue is proper pursuant to 28 U.S.C. § 1391.

       9.       Pursuant to 28 U.S.C. § 1446(d), Defendants have on this date notified the Superior

Court of the State of Connecticut of the filing of this petition. A copy of the Notice of Removal

filed in Superior Court is attached hereto as Exhibit C.

       WHEREFORE, pursuant to the provisions of 28 U.S.C. §§ 1441 and 1446, Defendants

request that this action be removed from the Superior Court of the State of Connecticut and

henceforth proceed in this Court.

                                                THE DEFENDANTS,
                                                MERCEDES-BENZ USA, LLC,
                                                UAG FAIRFIELD CM, LLC, AND
                                                CAR UNI CT FAIR, LLC

                                              By: /s/ John C. Pitblado
                                                 James M. Sconzo (ct04571)
                                                 John C. Pitblado (ct25563)
                                                 CARLTON FIELDS, P.C.
                                                 One State Street, Suite 1800
                                                 Hartford, CT 06103-3102
                                                 Telephone:(860) 392-5000
                                                 Facsimile: (860) 392-5058
                                                 E-mail:     jsconzo@carltonfields.com
                                                             jpitblado@carltonfields.com
                                                 Their Attorneys




                                                 3
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on this 16th day of July, 2019, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.



                                               /s/ John C. Pitblado
                                               John C. Pitblado

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                      EXHIBIT A
       Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 6 of 25

                                                                     Service of Process
                                                                     Transmittal
                                                                     06/17/2019
                                                                     CT Log Number 535692696
TO:     David C. Nelson
        PENSKE AUTOMOTIVE GROUP, INC.
        2555 S Telegraph Rd
        Bloomfield Hills, MI 48302-0974

RE:     Process Served in Connecticut

FOR:    UAG FAIRFIELD CM, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                CHERYL GANZ, Pltf. vs. MERCEDES-BENZ USA, LLC, et al., Dfts. // To: UAG FAIRFIELD
                                CM, LLC
DOCUMENT(S) SERVED:             Attachment(s), Summons, Complaint, Demand
COURT/AGENCY:                   Stamford Small Claims Session G.A. #1 Superior Court, CT
                                Case # NONE
NATURE OF ACTION:               Personal Injury - Failure to Maintain Premises in a Safe Condition - 08/25/2017
ON WHOM PROCESS WAS SERVED:     C T Corporation System, East Hartford, CT
DATE AND HOUR OF SERVICE:       By Process Server on 06/17/2019 at 17:14
JURISDICTION SERVED :           Connecticut
APPEARANCE OR ANSWER DUE:       On or before the second day after the return date 07/16/2019
ATTORNEY(S) / SENDER(S):        Jeremy Vishno
                                Vishno Law Firm
                                183 Sherman Street
                                Fairfield, CT 06824
                                203-256-2373
ACTION ITEMS:                   CT has retained the current log, Retain Date: 06/18/2019, Expected Purge Date:
                                06/23/2019

                                Image SOP

                                Email Notification, David C. Nelson david.nelson@penskeautomotive.com

                                Email Notification, Yolanda Walker ywalker@penskeautomotive.com
                                Email Notification, Dee Thomas deirdre.thomas@penskeautomotive.com

                                Email Notification, Lauren Freund lfreund@penskeautomotive.com

SIGNED:                         C T Corporation System
ADDRESS:                        67 Burnside Ave
                                East Hartford, CT 06108
TELEPHONE:                      302-658-7581/7582/7583




                                                                     Page 1 of 1 / HM
                                                                     Information displayed on this transmittal is for CT
                                                                     Corporation's record keeping purposes only and is provided to
                                                                     the recipient for quick reference. This information does not
                                                                     constitute a legal opinion as to the nature of action, the
                                                                     amount of damages, the answer date, or any information
                                                                     contained in the documents themselves. Recipient is
                                                                     responsible for interpreting said documents and for taking
                                                                     appropriate action. Signatures on certified mail receipts
                                                                     confirm receipt of package only, not contents.
6/14/2019                                             Commercial Recording Division
                             Case 3:19-cv-01100-KAD Document    1 Filed 07/16/19 Page 7 of 25
  Business Inquiry
   Business Details
             ^BiSiness Nama: UAG FAIRFIELD CM. LLC                                                Citizenship/State Inc; PoroIgnlDE

                   Business ID; 06S7009                                                          Last Report Filed Year; 2019

             Business Address: 102 LINWOOD AVENUE, FAIRFIELD, CT. 06824                                 Business Typo: Foreign Limited Liability Company

               Mailing Address; 102 LINWOOD AVENUE. FAIRFIELD, CT, 06824                               Business Status: Active

        Date Inc/RegIstration: Jul 20,2000                                                  Name in Place of Formation:

    Commence Business Date; Jul 20,2000

     Annual Report Due Date: 03/31/2020


   Principals Details
   Name/ntlo                              Business Address                                Rosldeneo Address

   UAG CONNECTICUT I. LLC                 2555 TELEGRAPH RD.. BLOOMFIELD HILLS. Ml,       NONE
   MEMBER                                 48302


   Agent Summary
                           AgentName C T CORPpRATION.SYSTEM

                Agent Business Address 67 BURNSIDE AVE, EAST HARTFORD, CT, 061084408

               Agent Residence Address NONE

                  Agent Mailing Address NONE

   OTHER ADDRESSES:
            Address in the State of Formation; 102 LINWOOD AVENUE, FAIRFIELD, CT. 06824

   Mailing Address in the State of Formation; 102 LINWOOD AVENUE, FAIRFIELD, CT, 06824




hUps:/Awvw.concord-sots.ct.gov/CONCORD/online?sn=Publiclnquiry&eid=9740                                                                                    1/1
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   4-




 SUMMONS-CIVIL                                                                                                                     STATE OF CONNECTICUT
 JlVCV-1 Rev. 4*16                                                                                                                                                              *
 C.G.S. §§ 51-346.51-347,51-349,51-350, 52-45a,                                                                                      SUPERIOR COURT
 52-48, £2-259, P.B. §§ 3-1 through 3-21,8-1,10-13
                                                                                                                                                       www.jud.ct.gov
 See other side for instructions
r-|     "X" if amount, legal interest or property in demand, not induding interest and
^       costs is less than $2,500.
rn      'X" if amount, legal interest or property in demand, not including interest and
^       costs is $2,500 or more.
n       'X" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint
Address of court derk where writ and other papers shall be filed (NunAer. street town and zip code)           Telephone number of derk          Return Date ^st be a Tuesday)
(C.6.S. §§ 61-34$. 61-350)                                                                                    (mth aiea code)
                                                                                                                                                JULY                       16 2 019
123 HOYT ST. STAMFORD CT 06905                                                                                ( 203 ) 965-5308                        Montn             OBg    Year
[^Judicial District                                              At (Town in        writ is returnable) (C.Q.S. S§ 51^6,51^9}                   Casetypeeode (See fist on page ^
        Houslrrg Session
                                      □ Number
                                        GA-                      STAMFORD                                                                        Major T               Minor: 03
For the Plaintifr(8) please enter the appearance of:
Name and address of attorney, law firm or plaintiff if self-represented (NuiiAer, street tovm and zip code)                                     Juris number $o beenAtedbyMoniey oniji)
Jeremy Vishno, Vishno Law Firm 183 Sherman Street, Fairfield, CT 06824                                                                          402819
Telephone number (With area cede)                                Signature of Plaintiff 0f seB-represented)
(203 ) 256-2373
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                Email address for delivery of papers under Section 1(^13 (d agreed to)
seff-represented, agrees to accept papers (senrice) eleelronicaOy in            YeS      Q No            Jvlshno@vishnolaw.com
this case under Section 1<^13 of die Connecticut Practice Book.

Number of Plaintiffs: 1                         Number of Defendants: 3                          Q Form JD-CV-2 atta^ed for additional parties
        Parties            Name (Last First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; County, if not USA)
         First         Name: GANZ, CHERYL                                                                                                                                          P-01
        Plaintiff      Address: 12 OAK LANE, WESTON,                    CT 06883
   Additional          Name:                                                                                                                                                       P-02
    Plaintiff          Address:

     First             Name: MERCEDES-BENZ USA, LLC BY C T CORPORATION SYSTEM                                                                                                      Ml
   Defendant           Addres^^CT-BURNSIDE AVE..E.HARTFORD 06 108^08,
   Additional          Name: > UAG FAIRFIELD CM, LLC BY C T CORPORATION SYSTEM                                                                                                     D4)2
   Defendant           Address: g? BURNSIDE AVE., E. HARTFORD 06108-3408
   Additional          Name: CAR UNI CT FAIR, LLC BY CORPORATION SERVICE COMPANY^^                                                                                                 D4I3
   Defendant' *        Address: gp WESTON ST., HARTFORD CT 06120-1537
   Additional          Name:                                                                                                                                                       D-04
   Defendant           Address:

Notice to Each Defendant
1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the daims feat each plaintiff is making
   against you in this lawsuit.
2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" vrith the derk of fee above-named Court at the above
   Court address on or before the second day after fee above Return Date. The Return Date is not a hearing date. You do not have to come to court on fee
   Return Date unless you receive a separate noUce telling you to come to court.
3. If you or your attorney do not file a written "Appearance* form on time, a judgment may be entered against you by default. The "Appearance" form may be
   obtained at the Court addr^s above or at wwwjud.ct.gov under "Court Forms."
4. If you believe feat you hav^insurance feat may cover the daim feat is being made against you in this lawsuit, you should immediately contad your
   insurance representative,         r action you may have to take is described in the Connedicut Practice Book which may be found in a superior court law
   library or on-line at      ’.Julet.gov under "Court Rules."
5. If you have questionddbput fee Summoi^nd Complaint, you should talk to an attorney quickly. The Clerk of Court Is not allowed to give advice on
   legal questions.       \ \\
Signed                                                                w Uommisstonerortne         Name of Person Signing at Left                                  Date signed
                                                                     ^ Superior Couit
                                                                     I I Assistant Clerk          Jeremy Vishno                                                  06/12/2019
If this Summons Is signed by a Clerk;                                                                                                                       For Court Use Only
a. The signing has been done so that fee Raintiff(s) vwll not be denied access to fee courts.                 atbuecopv                             File Date
b. It is the responsibility of fee Plaintiff(s) to see that service Is made in fee manner provided by law.    ATTEST:
c. The Clerk is not permitted to give any legal adtrice in connedion writh any lawsuit.
d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any vray for any errors or omissions
                                                                                                                                                    n
    in fee Summons, any allegations contained in the Complaint, or the senrice of the Summons or Complaint


 I CBltify I have read and            signed (SeB-ftepresenlad Plainbff)                                                   Date                     Docket Number
 understand the above:                                                                                                     03/14/2018
                                                                                        (Page l of2)
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RETURN DATE JULY 16,2019                              SUPERIOR COURT

CHERYL GANZ                                           STAMFORD

VS.

MERCEDES-BENZ USA, LLC,                               JUNE 12, 2019
UAG FAIRFIELD CM, LLC &
CAR UNI CT FAIR. LLC


                                           COMPLAINT



COUNT ONE-AS TO MERCEDES-BENZ USA. LLC

      1.     At all times relevant herein, the Piaintiff, Cheryl Ganz, was and is a

             resident of Weston, Connecticut.

      2.     At all times relevant herein, the Defendant, MERCEDES-BENZ USA, LLC

             (“Mercedes”), was and is a foreign Limited Liability Company with a

             business address located at 165 Commerce Drive in Fairfield, Connecticut

             (the “Property").

      •3.-   At all times relevant herein, the defendant UAG Fairfield CM, L.L.C.

             (“UAG") was a foreign Limited Liability Company, with a business address

             of 165 Commerce Drive, Fairfield, Connecticut.

      4.     At ail times relevant herein, the defendant, CAR UNI CT FAIR L.L.C.

             (“CUCF”) was and is a foreign Limited Liability Company, which owned the

             property located at 165 Commerce Drive, Fairfield, Connecticut, including

             land and building(s).

      5.     At all times relevant herein, Mercedes was open to the public as a car

             dealership on the property.


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6.    At all times relevant herein, UAG was doing business as Mercedes Benz

      of Fairfield, and was open to the public as a car dealership.

7.    At all times relevant herein, Mercedes, through Its agents, servants, and/or

      employees, was in possession and control and was responsible for

      maintaining the parking on the property, and was othenA/ise charged with

      keeping the customer parking area safe for its customers.

8.    On or about August 25, 2017, Ganz parked her car in the customer

      parking area located at the property, with the intention of entering the

      Mercedes car dealership as a customer.

9.    At said time and place, and as Ganz was exiting her car and walking in the

      parking area, in the exercise of due care and caution, and without any

      negligence on her part, to enter the dealership.

10.   While walking next to her car and toward the entrance Ganz tripped and

      fell as a result of an unsafe condition on the ground, to wit, a wheel stop

      which was not clearly visible to her due to its position on the parking lot

      and/or its coloring.

11.   As a direct result of that trip, Ganz fell violently to the ground and suffered

      the personal injuries and losses hereinafter set forth.

12.   Ganz’s trip and fall and resulting injuries were the direct and proximate

      result of the negligence and carelessness of Mercedes, its agents and/or

      employees, in one or more of the following ways:




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        a.     In that the it caused, allowed and/or pennitted the surface of said
               Parking Lot to be in an unsafe and dangerous condition in an area
               intended for use by pedestrians, including the Plaintiff;

        b.     In that the it knew or in the exercise of reasonable care should have
               known of said hazardous and dangerous condition but failed to take
               necessary measures to remedy said condition to render the Parking
               Lot safe for customer and pedestrian traffic;

        c.    ■ In.that the it failed to warn oLthe dangerous condition then and
                there existing by placing warning signs, cones and/or other warning
                devices on the ground;

        d.     In that the it created and/or maintained a dangerous and defective
               condition, to wit a wheel stop that was improperly situated, colored
               or otherwise painted with visual cues that would put a person of
               ordinary prudence on notice of its presence, thus creating a
               deceptive tripping hazard; and/or

        e.     In that it used wheel stops rather than bollards in an area known for
               an intended use by pedestrians who are entering the deadership
               and/or using wheel stops when doing so was both redundant and
               not the safest method of preventing cars from causing damage to
               the building and/or persons therein.

  13.   As a result of the carelessness and negligence of Mercedes, Ganz

        suffered the following injuries which are, or are likely to become,

        permanent in nature:

        a.     trauma to her left shoulder, including impingement, torn rotator cuff,
               surgical pain, scarring as well as pain and limitation of motion and
               reduced strength;
        b.     trauma including abrasions and/or contusions to her right knee;
        c.     Mental and physical pain and suffering.

• 14.   As further direct result of Mercedes' negligence and carelessness, Ganz

        has been forced, and will continue to undergo, medical treatment and .

        care,, including surgical repair of her left shoulder, for which she has been

        forced to incur medical expenses.

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  .   15.   As a further direct result of Mercedes’ negligence and carelessness, Ganz

            has been forced to consume various medications, undergo various tests,

            x-rays, scans, treatments and physical therapy for which she has incurred

            expenses.

      16.   As a further direct result of Mercedes' negligence and carelessness, Ganz

            has decreased mobility and flexibility and is limited in movements of the

            injured body parts described above.

      17.   As a further result of her injuries, Ganz has had his ability to enjoy life's

            pleasures Interrupted and/or diminished.

COUNT TWO-AS TO UAG FAIRFIELD CM, LLC


      1.    At all times relevant herein, the Plaintiff, Cheryl Ganz, was and is a

            resident of Weston, Connecticut.

      2.    At all times relevant herein, the Defendant, MERCEDES-BENZ USA, LLC

            ("Mercedes”), was and is a foreign Limited Liability Company with a

            business address located at 165 Commerce Drive in Fairfield, Connecticut

            (the “Property").

      3.    At all times relevant herein, the defendant UAG Fairfield CM, LLC ("UAG")

            was a foreign Limited Liability Company, with a business address of 165

            Commerce Drive, Fairfield, Connecticut.

      4.    At all times relevant herein, the defendant, CAR UNI CT FAIR L.L.C.

            (“CUCF”) was and is a foreign.Limited Liability Company, which owned the



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      property located at 165 Commerce Drive, Fairfield, Connecticut, including

      land and building(s).

5.    At all times relevant herein, UAG was doing business as Mercedes Benz

      of Fairfield, and was open to the public as a car dealership.

6.    At all times relevant hereinUAG, through its agents, servants, and/or

      employees, was in possession and control and was responsible for

      maintaining the parking on the property, and was otherwise charged with

      keeping the customer parking area safe for its customers.

7.    On or about August 25, 2017, Ganz parked her car in the customer

      parking area located at the property, with the intention of entering the

      Mercedes car dealership as a customer.

8.    At said time and place, and as Ganz was exiting her car and walking In the

      parking area, in the exercise of due care and caution, and without any

      negligence on her part, to enter the dealership.

9.    While walking next to her car and toward the entrance Ganz tripped and

      fell as a result of an unsafe condition on the ground, to wit, a wheel stop

      which was not clearly visible to her due to its position on the parking lot

      and/or its coloring.

10.   As a direct result of that trip, Ganz fell violently to the ground and suffered

      the personal injuries and losses hereinafter set forth.




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    11.    Ganz'S trip and fall and resulting Injuries were the direct and proximate

           result of the negligence and carelessness of UAG, its agents and/or

           employees, in one or more of the following ways:

           a..    In that the it caused, allowed and/or permitted the surface of said
                  Parking Lot to be in an unsafe and dangerous condition in an area
                  intended for use by pedestrians, including the Plaintiff;

           b.     In that the it knew or In the exercise of reasonable care should have
                  known of said hazardous and dangerous condition but failed to take
                  necessary measures to remedy said condition to render the Parking
                  Lot safe for customer and pedestrian traffic;

           c.    In that the it failed to warn of the dangerous condition then and
                 there existing by placing warning signs, cones and/or other warning
                 devices on the ground;

           d.    In that the it created and/or maintained a dangerous and defective
                 condition, to wit a wheel stop that was improperly situated, colored
                 or othen/vise painted with visual cues that would put a person of
                 ordinary prudence on notice of its presence, thus creating a
                 deceptive tripping hazard; and/or

           e.    In that it used wheel stops rather than bollards in an area known for
                 an intended use by pedestrians who are entering the deariership
                 and/or using wheel stops when doing so was both redundant and
                 not the safest method of preventing cars from causing damage to
                 the building and/or persons therein.

    12.   As a result of the carelessness and negligence of UAG, Ganz suffered the

          following injuries which are, or are likely to become, permanent in nature:

           a.     trauma to her left shoulder, including impingement, tom rotator cuff,
                  surgical pain, scarring as well as pain and limitation of motion and
                  reduced strength;
           b.     trauma including abrasions and/or contusions to her right knee;
           c.     Mental and physical pain and suffering.

... ..13__ As.further direct .result of. UAG’s negligence and carelessness, Ganz has

           been forced, and will continue to undergo, medical treatment and care.

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               including surgical repair of her left shoulder, for which she has been forced

               to incur medical expenses.

     14.       As a further direct result of UAG’s negligence and carelessness, Ganz has

               been forced to consume various medications, undergo various tests, x-

               rays, scans, treatments and physical therapy for which she has incurred

               expenses.

     15.       As a further direct result of UAG’s negligence and carelessness, Ganz has

               decreased mobility and flexibility and is limited in movements of the

               injured body parts described above.

     16.       As a further result of her injuries, Ganz has had his ability to enjoy life’s

               pleasures interrupted and/or diminished.

COUNT THREE-AS TO CAR UNI CT FAIR, LLC


     1.        At all times relevant herein, the Plaintiff, Cheryl Ganz, was and is a

               resident of Weston, Connecticut.

     2.        At all times relevant herein, the Defendant, MERCEDES-BENZ USA, LLC

               ("Mercedes”), was and is a foreign Limited Liability Company with a

               business address located at 165 Commerce Drive in Fairfield, Connecticut

               (the "Property”).

     3.        At ail times relevant herein, the defendant UAG Fairfield CM, LLC ("UAG”)

           *   was a foreign Limited Liability Company, with a business address of 165

               Commerce Drive, Fairfield,.Connecticut. .



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4.    At all times relevant herein, the defendant, CAR UNI CT FAIR L.L.C.

      (“CUCF”) was and is a foreign Limited Liability Company, which owned the

      property located at 165 Commerce Drive, Fairfield, Connecticut, including

      land and bullding(s).

5.    At all times relevant herein, UAG was doing business as Mercedes Benz

      of Fairfield, and was open to the public as a car dealership.

6.    At all times relevant herein CUCF, through its agents, servants, and/or

      employees, was in possession and control and was responsible for

      maintaining the parking on the property, and was othenvise charged with

      keeping the customer parking area safe for its customers.

7.    On or about August 25,2017, Ganz parked her car in the customer

      parking area located at the property, with the intention of entering the

      Mercedes car dealership as a customer.

8.    At said time and place, and as Ganz was exiting her car and walking in the

      parking area, in the exercise of due care and caution, and without any

      negligence on her part, to enter the dealership.

9.    While walking next to her car and toward the entrance Ganz tripped and

      fell as a result of an unsafe condition on the ground, to wit, a wheel stop

      which was not clearly visible to her due to its position on the parking lot

      and/or its coloring.

10.   As a direct result of that trip, Ganz fell violently to the ground and suffered

      the personal injuries and losses hereinafter set forth.


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11. ' Ganz's trip and fall and resulting Injuries were the direct and proximate

      result of the negligence and carelessness of CUCF, its agents and/or

      employees, in one or more of the following ways:

      a.        In that the it caused, allowed and/or permitted the surface of said
                Parking Lot to be in an unsafe and dangerous condition in an area
                intended for use by pedestrians, including the Plaintiff;

      b.        In that the it knew or in the exercise of reasonable care should have
                known of said hazardous and dangerous condition but failed to take
                necessary measures to remedy said condition to render the Parking
                Lot safe for customer and pedestrian traffic;

      c.     In that the it failed to warn of the dangerous condition then and
             there existing by placing warning signs, cones and/or other warning
             devices on the ground;

      d.     In that the it created and/or maintained a dangerous and defective
             condition, to wit a wheel stop that was improperly situated, colored
             or othenvise painted with visual cues that would put a person of
             ordinary prudence on notice of its presence, thus creating a
             deceptive tripping hazard; and/or

      e.     In that it used wheel stops rather than bollards in an area known for
             an intended use by pedestrians who are entering the deariership
             and/or using wheel stops when doing so was both redundant and
             not the safest method of preventing cars from causing damage to
             the building and/or persons therein.

12.   As a result of the carelessness and negligence of CUCF, Ganz suffered

      the following injuries which are, or are likely to become, permanent in

      nature:

      a.     trauma to her left shoulder, Including impingement, tom rotator cuff,
             surgical pain, scarring as well as pain and limitation of motion and
             reduced strength;
      b.     trauma including abrasions and/or contusions to her right knee;
      c. .   Mental and physical pain and suffering.



                                       9
       Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 18 of 25




       13.   As further direct result of CUCF's negligence and carelessness, Ganz has

             been forced, and will continue to undergo, medical treatment and care,

             including surgical repair of her left shoulder, for which she has been forced

             to incur medical expenses.

       14.   As a further direct result of CUCF's negligence and carelessness, Ganz

             has been forced to consume various medications, undergo various tests,

             x-rays, scans, treatments and physical therapy for which she has incurred

             expenses.

       15.   As a further direct result of CUCF’s negligence and carelessness, Ganz

             has decreased mobility and flexibility and is limited in movements of the

             injured body parts described above.

       16.   As a further result of her injuries, Ganz has had his ability to enjoy life’s

             pleasures interrupted and/or diminished.


WHEREFORE, the Plaintiff claims:

Money damages as to all counts. Including fees and costs of suit

                                          THE PuRNT -F


                                         Jeremy Vishno
                                         Vishno Law Firm
                                          183 Sherman Street   ATRUECOPY
                                          Fairfield, CT 06824  ATTEST:
                                         p.203-256-2373
                                         f.203-286-1367        --------- CHaSukIULLEY        ^
                                       . jvishno@vishnolaw.com STATE^Sncou^
                                         Juris # 402819


                                             10
            Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 19 of 25



      RETURN DATE JULY 16, 2019                          SUPERIOR COURT

. .   CHERYL GANZ                                        STAMFORD

      VS.

      MERCEDES-BENZ USA, LLC,                            JUNE 12. 2019
      UAG FAIRFIELD CM. LLC &
      CAR UNI CT FAIR, LLC


                                       AMOUNT iN DEMAND

            The amount in demand is in excess of FIFTEEN THOUSAND ($15,000.00)

      DOLLARS excluding interest and costs.                       S
                                                                      0 *
                                              THE PLAINTIFF


                                              BY:
                                                      Jeremy Vishno,
                                                      Vishno Law Firm
                                                       183 Sherman Street
                                                       Fairfield, CT 06824
                                                       p. 203-256-2373
                                                      f. 203-850-7462
                                                      juris #402819
                                                    . ivishno@vishnolaw.com




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                                                           ATTEST;
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Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 20 of 25




                      EXHIBIT B
Case Detail - FST-CV19-6042503-S                                            Page 1 of 2
             Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 21 of 25




 E-Services Home              Attorney/Firm: CARLTON FIELDS P.C. (420124)                                      E-Mail: harecf@cfdom.net Logout
 -
                               FST-CV19-6042503-S GANZ, CHERYL v. MERCEDES-BENZ USA, LLC Et Al
 E-Services Inbox (18)
                              Prefix/Suffix: [none] Case Type: T03                File Date: 06/28/2019           Return Date: 07/16/2019
 -
 Superior Court E-Filing         Case Detail           Notices         History              Scheduled Court Dates                     Help Manual
   Civil/Family
   Housing                                                                       To receive an email when there is activity on this case, click here.
   Small Claims
 -
 E-File a New Case                    The logged in Juris Number is not appearing on this case. Select "Go" to e-file an appearance.
 -
 E-File on an                                                Select Case Activity:      E-File an Appearance        Go
 Existing Case
   By Docket Number           Information updated as of: 07/16/2019
   By Party Name
                                                                                 Case Information
   List My Cases
 -                                             Case Type: T03 - Torts - Defective Premises - Private - Other
 Court Events                             Court Location: Stamford JD
   By Date                                       List Type: No List Type
   By Juris Number                        Trial List Claim:
   By Docket Number                                          06/28/2019 (The "last action date" is the date the information was entered in the
 -                                       Last Action Date:
                                                            system)
 Short Calendars
   Markings Entry
                                                                              Disposition Information
   Markings History
   My Short Calendars                    Disposition Date:
   By Court Location                          Disposition:
   Calendar Notices                   Judge or Magistrate:
 -
 My Shopping Cart (0)                                                    Party & Appearance Information
 My E-Filed Items                                                                                                       No
 -                                                                                                                            Party
                              Party                                                                                     Fee           Party Type
 Pending                                                                                                                     Category
                                                                                                                       Party
 Foreclosure Sales
                              P-01 CHERYL GANZ                                                                                  Plaintiff     Person
 -
 Search By Property Address              Attorney:     JEREMY G VISHNO (402819) File Date: 06/28/2019
                                                     183 SHERMAN STREET
 -
                                                     FAIRFIELD, CT 06824

                              D-01 MERCEDES-BENZ USA, LLC                                                                      Defendant      Firm or
                                   Non-Appearing                                                                                            Corporation
                              D-02 UAG FAIRFIELD CM, LLC                                                                       Defendant      Firm or
                                   Non-Appearing                                                                                            Corporation
                              D-03 CAR UNI CT FAIR, LLC                                                                        Defendant      Firm or
                                   Non-Appearing                                                                                            Corporation



                               Viewing Documents on Civil, Housing and Small Claims Cases:

                               If there is an   in front of the docket number at the top of this page, then the file is electronic (paperless).

                                       Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims case
                                        with a return date on or after January 1, 2014 are available publicly over the internet.* For more informatio
                                        on what you can view in all cases, view the Electronic Access to Court Documents Quick Card.
                                       For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available publicly
                                        over the internet. Orders can be viewed by selecting the link to the order from the list below. Notices can b
                                        viewed by clicking the Notices tab above and selecting the link.*
                                       Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial
                                        district courthouse during normal business hours.*
                                       Pleadings or other documents that are not electronic (paperless) can be viewed only during normal
                                        business hours at the Clerk’s Office in the Judicial District where the case is located.*
                                       An Affidavit of Debt is not available publicly over the internet on small claims cases filed before October 1
                                        2017.*




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Case Detail - FST-CV19-6042503-S                                            Page 2 of 2
             Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 22 of 25



                        *Any documents protected by law Or by court order that are Not open to the public cannot be viewed by the publi
                        online And can only be viewed in person at the clerk’s office where the file is located by those authorized by law o
                        court order to see them.

                                                       Motions / Pleadings / Documents / Case Status
                       Entry                 Filed
                                File Date          Description                                                                  Arguable
                       No                    By
                                06/28/2019 P         SUMMONS
                                06/28/2019 P         COMPLAINT
                       100.30 06/28/2019 P           RETURN OF SERVICE                                                          No



                                                           Scheduled Court Dates as of 07/15/2019
                                       FST-CV19-6042503-S - GANZ, CHERYL v. MERCEDES-BENZ USA, LLC Et Al
                         #     Date           Time             Event Description                                       Status
                                                               No Events Scheduled


                       Judicial ADR events may be heard in a court that is different from the court where the case is filed. To
                       check location information about an ADR event, select the Notices tab on the top of the case detail
                       page.

                       Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as
                       scheduled court events on this page. The date displayed on this page is the date of the calendar.

                       All matters on a family support magistrate calendar are presumed ready to go forward.

                       The status of a Short Calendar matter is not displayed because it is determined by markings made by
                       the parties as required by the calendar notices and the civil or family standing orders. Markings
                       made electronically can be viewed by those who have electronic access through the Markings History
                       link on the Civil/Family Menu in E-Services. Markings made by telephone can only be obtained
                       through the clerk’s office. If more than one motion is on a single short calendar, the calendar will be
                       listed once on this page. You can see more information on matters appearing on Short Calendars and
                       Family Support Magistrate Calendars by going to the Civil/Family Case Look-Up page and Short
                       Calendars By Juris              or By Court Location .

                      Periodic changes to terminology that do not affect the status of the case may be made.
                      This list does not constitute or replace official notice of scheduled court events.

                      Disclaimer: For civil and family cases statewide, case information can be seen on this website for a
                      period of time, from one year to a maximum period of ten years, after the disposition date. If the
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                      will be displayed for the shorter period. Under the Federal Violence Against Women Act of 2005, cases
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                      courts.




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                      EXHIBIT C
Case Detail - FST-CV19-6042503-S                                            Page 1 of 2
             Case 3:19-cv-01100-KAD Document 1 Filed 07/16/19 Page 24 of 25




 E-Services Home              Attorney/Firm: CARLTON FIELDS P.C. (420124)                                         E-Mail: harecf@cfdom.net Logout
 -
                               FST-CV19-6042503-S GANZ, CHERYL v. MERCEDES-BENZ USA, LLC Et Al
 E-Services Inbox (18)
                              Prefix/Suffix: [none] Case Type: T03                 File Date: 06/28/2019            Return Date: 07/16/2019
 -
 Superior Court E-Filing          Case Detail           Notices         History               Scheduled Court Dates                     Help Manual
   Civil/Family
   Housing                                                                          To receive an email when there is activity on this case, click here.
   Small Claims
 -
 E-File a New Case                                          Select Case Activity:     E-File a Pleading or Motion        Go
 -
 E-File on an                 Information updated as of: 07/16/2019
 Existing Case
   By Docket Number                                                                Case Information
   By Party Name                               Case Type: T03 - Torts - Defective Premises - Private - Other
   List My Cases                          Court Location: Stamford JD
 -                                               List Type: No List Type
 Court Events                             Trial List Claim:
   By Date                                                   07/16/2019 (The "last action date" is the date the information was entered in the
   By Juris Number                       Last Action Date:
                                                            system)
   By Docket Number
 -
 Short Calendars                                                               Disposition Information
   Markings Entry                        Disposition Date:
   Markings History                           Disposition:
   My Short Calendars                 Judge or Magistrate:
   By Court Location
   Calendar Notices
                                                                          Party & Appearance Information
 -
                                                                                                                           No
 My Shopping Cart (0)                                                                                                            Party
                              Party                                                                                        Fee           Party Type
 My E-Filed Items                                                                                                               Category
                                                                                                                          Party
 -
 Pending                      P-01 CHERYL GANZ                                                                                     Plaintiff      Person
 Foreclosure Sales                       Attorney:     JEREMY G VISHNO (402819)               File Date: 06/28/2019
 -                                                   183 SHERMAN STREET
                                                     FAIRFIELD, CT 06824
 Search By Property Address
 -
                              D-01 MERCEDES-BENZ USA, LLC                                                                         Defendant       Firm or
                                         Attorney:     CARLTON FIELDS P.C. (420124)           File Date: 07/16/2019                             Corporation
                                                     ONE STATE STREET
                                                     SUITE 1800
                                                     HARTFORD, CT 06103

                              D-02 UAG FAIRFIELD CM, LLC                                                                          Defendant       Firm or
                                         Attorney:     CARLTON FIELDS P.C. (420124)           File Date: 07/16/2019                             Corporation
                                                     ONE STATE STREET
                                                     SUITE 1800
                                                     HARTFORD, CT 06103

                              D-03 CAR UNI CT FAIR, LLC                                                                           Defendant       Firm or
                                         Attorney:     CARLTON FIELDS P.C. (420124)           File Date: 07/16/2019                             Corporation
                                                     ONE STATE STREET
                                                     SUITE 1800
                                                     HARTFORD, CT 06103




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Case Detail - FST-CV19-6042503-S                                            Page 2 of 2
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                       court order to see them.

                                                          Motions / Pleadings / Documents / Case Status
                       Entry                  Filed
                                  File Date         Description                                                                      Arguable
                       No                     By
                                  06/28/2019 P         SUMMONS
                                  06/28/2019 P         COMPLAINT
                                  07/16/2019 D         APPEARANCE
                                                        Appearance
                       100.30 06/28/2019 P             RETURN OF SERVICE                                                             No



                                                              Scheduled Court Dates as of 07/15/2019
                                          FST-CV19-6042503-S - GANZ, CHERYL v. MERCEDES-BENZ USA, LLC Et Al
                         #       Date           Time             Event Description                                          Status
                                                                 No Events Scheduled


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